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      1:21-cv-03154Document
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      1:21-cv-03154Document
                   Document#:
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Case:
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      1:21-cv-03154Document
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